        Case 1:17-cv-00170-CWD Document 83-7 Filed 09/29/21 Page 1 of 8




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                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF IDAHO

 F.V. and DANI MARTIN,                                       No. 1:17-cv-00170-CWD

                        Plaintiffs,                          DECLARATION OF CHARLIE
                                                             WYSONG IN SUPPORT OF
                v.                                           PLAINTIFFS’ MOTION FOR
                                                             ATTORNEYS’ FEES
 DAVID JEPPESEN, in his official capacity as
 Director of the Idaho Department of Health and
 Welfare; ELKE SHAW-TULLOCH, in her official
 capacity as Administrator of the Division of Public
 Health for the Idaho Department of Health and
 Welfare; and JAMES AYDELOTTE, in his
 official capacity as State Registrar and Chief of the
 Bureau of Vital Records and Health Statistics,

                        Defendants.
        Case 1:17-cv-00170-CWD Document 83-7 Filed 09/29/21 Page 2 of 8




                          DECLARATION OF CHARLIE WYSONG

       I, Charlie Wysong, declare as follows:

       1.      I am more than eighteen (18) years of age, have personal knowledge of the facts

set forth herein, and am otherwise competent to testify on to the matters set forth herein. I make

this declaration in support of Plaintiffs’ motion for attorneys’ fees.

       2.      I understand that Plaintiffs are seeking attorneys’ fees based on legal work that

was performed after the State of Idaho enacted legislation in 2020 denying transgender people

the means of correcting their birth certificates to match their gender identity. I further

understand that enforcement of this legislation violated a permanent injunction and judgment that

Plaintiffs had previously obtained in 2018 after prevailing on their federal constitutional claim,

and thus necessitated additional litigation for which Plaintiffs are seeking attorneys’ fees.

                                           Qualifications

       3.      I earned a bachelor’s degree with honors from the University of Chicago (Phi

Beta Kappa) in 2008, earned a master’s degree from the Stanford School of Education in 2012,

and received my law degree from Stanford Law School in 2012, where I served as editor in chief

of the Stanford Journal of Civil Rights and Civil Liberties.

       4.      I am a member of the Illinois Bar Association and have more than nine years of

legal experience in Chicago, including a clerkship with the Honorable Richard Posner of the

United States Court of Appeals for the Seventh Circuit in 2012-2013. Since the end of my

clerkship, I have been a public interest lawyer, specializing in civil rights and constitutional law,

consumer law, disability law, and education law.

       5.      From 2013-2015, I worked as a Skadden Foundation Fellow in Chicago for Equip

for Equality—a non-profit law firm that represents people with disabilities in Illinois in human

and civil rights matters. A Skadden Fellowship is a competitive two-year fellowship program
                                                  1
         Case 1:17-cv-00170-CWD Document 83-7 Filed 09/29/21 Page 3 of 8




designed to place public interest lawyers in non-profit practices.

         6.    Since 2015, I have practiced civil rights and complex litigation with the law firm

of Hughes Socol Piers Resnick & Dym, Ltd. (HSPRD) where I am currently a partner. HSPRD

is based in Chicago with a significant practice in the areas of constitutional, civil rights, class

action, qui tam, employment, and public interest law. I am also a board member with the

National Employment Lawyers Association of Illinois and I counsel and represent clients in

discrimination disputes based on sex, gender identity, and sexual orientation in schools and in the

workplace. I recently served on Illinois Governor J.B. Pritzker’s task force on Affirming and

Inclusive Schools.

         7.     I am admitted to the United States District Court for the Northern District of

Illinois, the United States District Court for the Southern District of Illinois, and the United

States Court of Appeals for the Seventh Circuit. HSPRD litigates civil rights issues

predominantly in Illinois state courts and federal courts across the country. Based on this

experience, described more fully below, I am familiar with the hourly rates for the legal

community in the City of Chicago for complex state and federal litigation, including civil rights

cases.

         8.    At HSPRD, we handle a wide variety of complex civil matters, including many

civil rights matters, before administrative agencies including the Illinois State Board of

Education, the Illinois Department of Human Rights, the EEOC, and the National Labor

Relations Board and at all levels of the court system including in appeals before the United

States Supreme Court, the Seventh Circuit Court of Appeals, and the Illinois Appellate and

Supreme Courts. In both trial courts and in appeals, HSPRD has represented certified classes of

migrant workers suing their employers for unpaid wages and damages under the Fair Labor



                                                   2
        Case 1:17-cv-00170-CWD Document 83-7 Filed 09/29/21 Page 4 of 8




Standards Act, 29 U.S.C. §§ 201-19, the Migrant and Seasonal Worker Protection Act, 29 U.S.C.

§§ 1801-71, and similar state statutes; whistleblowers reporting fraud against government

programs through cases brought under federal and state False Claims Acts; people with mental

health disabilities facing discrimination in school and public accommodations; claims under the

United States and state constitutions and statutory protections against discrimination; and

numerous individuals and companies in civil liberties, constitutional law, class action,

commercial, education equity, false claims, employment, and labor law matters.

       9.      The trial and appellate decisions reflect the diversity of HSPRD’s work. Some of

our cases include: Griffin v. City of Chicago, 497 F.Supp.3d 307 (N.D. Ill. 2020) (represented

fire department applicant in sex, disability, and retaliation claims under Title VII, the Americans

with Disabilities Act (ADA), and the Illinois Human Rights Act (IHRA)); State ex rel. Leibowitz

v. Fam. Vision Care, LLC, 128 N.E.3d 422 (Ill. App. Ct. 2019), appeal allowed, 132 N.E.3d 367

(Ill. 2019), and aff’d, 2020 IL 124754 (represented whistleblower in qui tam suit for violation of

the Illinois Insurance Claims Fraud Protection Act in successful case presenting multiple

constitutional disputes of first impression); In re Emerald Casino, Inc., 867 F.3d 743 (7th Cir.

2017) (affirming a $272 million judgment against directors and officers of the bankrupted

Emerald Casino for breach of contract); Ernst v. City of Chicago, 837 F.3d 788 (7th Cit. 2016)

(establishing standards for disparate impact litigation under Title VII regarding testing practices),

on remand No. 08 C 4370, 2018 WL 6725866, at *1 (N.D. Ill. Dec. 21, 2018) (awarding five

plaintiffs relief worth well in excess of $10 million in sex discrimination claims); Lewis v. City of

Chicago, 560 U.S. 205 (2010) (represented class of African-American applicants for firefighter

jobs in race discrimination claims under Title VII regarding a discriminatory written test);

People Who Care, et al. v. Rockford Bd. of Educ., 246 F.3d 1073 (7th Cir. 2001) (litigation to



                                                 3
          Case 1:17-cv-00170-CWD Document 83-7 Filed 09/29/21 Page 5 of 8




obtain judicial relief effectively integrating Rockford, IL schools resulting in one of the most

extensive set of liability findings in the history of desegregation legislation).

       10.     I am familiar with the hourly rates for the legal community in Chicago, Illinois for

both state and federal litigation, including civil rights impact litigation. This knowledge stems in

part from my own regular hourly rate and the rates charged by HSPRD. HSPRD’s standard

hourly rates are set based on the nature and extent of each attorneys’ professional experience and

the number of years of practice. HSPRD periodically reviews prevailing hourly rates in the legal

community of firms roughly comparable in size and having attorneys of similar skill, experience,

and standing and takes this review into account when setting the firm’s hourly rates. These are

the standard rates charged to and paid by the firm’s clients for civil rights and other complex

litigation (plaintiff or defense). Additionally, we have litigated fee motions in similar complex

civil litigation matters and have been awarded our standard rates.

                                 Reasonableness of Rates Sought

       11.     I was asked by counsel for Plaintiffs to opine regarding the reasonableness of the

hourly rates for Lambda Legal attorneys Kara Ingelhart (from 2020-2021) and Nora Huppert

(from September 1, 2021 onward) assuming they were awarded rates based on the Chicago legal

market.

       12.     I am familiar with the work of Lambda Legal and the national reputation it has

earned for impact litigation on behalf of lesbian, gay, bisexual, and transgender (LGBT) people.

I have also previously served as a Governor-appointed member of the Illinois State Affirming

and Inclusive Schools Task Force alongside a Lambda Legal attorney. The Task Force primarily

served to develop legal and policy strategies for Illinois public schools to provide equal

educational opportunities for transgender students.



                                                   4
        Case 1:17-cv-00170-CWD Document 83-7 Filed 09/29/21 Page 6 of 8




       13.     I understand that Ms. Ingelhart, who graduated from the Law School at the

University of Chicago in 2015, has focused on impact litigation advancing civil rights of LGBT

people and the rights of people living with HIV at Lambda Legal since graduation. Ms. Ingelhart

was awarded a Skadden Fellowship to pursue this work after graduation. She has experience

litigating government restrictions that deny transgender people the ability to correct their birth

certificates to match their gender identity, including in Ohio, Kansas, and Puerto Rico as well as

Idaho. I understand that Ms. Ingelhart seeks rates of $320 and $330 for work performed in 2020

and 2021, respectively.

       14.     I understand that Ms. Huppert, who graduated from Columbia Law School in

2019 and has similarly focused her practice on impact litigation advancing LGBT rights at

Lambda Legal. Ms. Huppert was awarded the Renberg Fellowship to pursue this work after

graduation. I further understand that Ms. Huppert has experience litigating government

discrimination against transgender people in multiple jurisdictions, including Alaska and West

Virginia. I understand that Ms. Huppert seeks a rate of $270 for work performed on or after

September 1, 2021.

       15.     In my opinion the rates sought by Ms. Ingelhart and Ms. Huppert are reasonable

and in line with the prevailing market rates in Chicago for comparable legal services performed

by attorneys with comparable qualifications, experience, and expertise.

       16.     This opinion is supported by several considerations. First, the rates sought for

Ms. Ingelhart and Ms. Huppert are consistent with the range of rates charged for HSPRD

attorneys for constitutional, civil rights, and complex litigation cases in the Chicago area. For

example, my rate is $380 per hour for 2021. The current standard hourly rates for some of my

associate colleagues at HSRPD include $350 an hour for a 2014 law school graduate, and $300



                                                  5
        Case 1:17-cv-00170-CWD Document 83-7 Filed 09/29/21 Page 7 of 8




per hour for a 2019 law school graduate. These rates are charged by HSPRD and paid by our

clients for civil rights and complex litigation in Chicago. Rate increases of approximately $10-

15 for each additional year of experience are not uncommon, particularly during the first several

years of an attorney’s practice. Recently, in Vega v. Chicago Park Dist., the court held that the

best evidence of the local market rate is “the amount the attorney . . . bills for similar work.” --

F.4th --, 2021 WL 3907883, at *5 (7th Cir. 2021). The difficulty and complexity of the

constitutional and LGBT impact litigation in which I understand Lambda Legal is engaged is not

any less significant than the legal work for which HSPRD is paid by its clients.

        17.        The rates sought are supported by a similar range of rates awarded by courts.

For example, in Lloyd v. Credit Services Int’l, Inc., No. 18-C-4267, 2019 WL 5311843, at *1

(N.D. Ill. Oct. 21, 2019), the court found that a rate of $352 per hour was reasonable for work

performed by an attorney with five years of experience when the lawsuit was filed. Similarly, in

Awalt v. Marketti, No. 11-cv-6142, 2018 WL 2332072, at *2 (N.D. Ill. May 23, 2018), the court

found in 2018 that $375 per hour was reasonable for an attorney with seven years of experience

(Steven Art) and $300 per hour was reasonable for an attorney with three years of experience

(Thomas Kayes) when fees were sought in 2016. Further, Ms. Ingelhart’s rates are reasonable

because she seeks lower historical rates for work performed in 2020, even though in the Northern

District of Illinois, fees for multi-year litigation can be set based on a single current rate at the

time fees are sought. Adamik v. Motyka, No. 12-cv-3810, 2018 WL 3574751, at *4 (N.D. Ill.

July 25, 2018).

        18.       In addition, the institutional expertise, experience, and resources of Lambda Legal

in LGBT impact litigation made it uniquely well-equipped to handle the litigation at issue here,

particularly because it concerned a statute enacted in defiance of the permanent injunction that



                                                   6
        Case 1:17-cv-00170-CWD Document 83-7 Filed 09/29/21 Page 8 of 8




Lambda Legal obtained in the first instance. It is difficult to imagine that a reasonably prudent

client would not retain the same organization who successfully litigated the original matter under

such circumstances. Furthermore, the specialization in LGBT impact litigation by the Lambda

Legal attorneys would greatly increase the efficacy of their advocacy and provide significant

efficiencies in representation (and thus reduced overall fees) of novel and complicated matters in

this practice where the law is developing rapidly.

       19.     Based on the considerations set forth above, my knowledge of prevailing market

rates, and the superior qualifications of Ms. Ingelhart and Ms. Huppert, I believe that the rates

sought are reasonable and in line with the legal community in Chicago.



       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.


DATED: September 23, 2021
                                                             Charlie Wysong




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